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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )      ORDER
               Plaintiff,                     )
                                              )
       vs.                                    )
                                              )      Case No.: 1:15-cr-186
Asa Neil Goodie,                              )
                                              )
               Defendant.                     )


       Before the court is a "Motion to Withdraw as Counsel" filed by attorney Lynn Slaathaug

Moen. For good cause show, the court GRANTS the motion. (Docket No. 98). Attorney Lynn

Slaathaug Moen is authorized to withdraw as defense counsel. Attorney Tatum Lindbo is appointed

to represent defendant and shall be substituted as counsel of record for defendant in this matter.

       IT IS SO ORDERED.

       Dated this 18th day of October, 2016.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
